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                  SC NAACP v. Alexander,
           Case No. 3:21-cv-03302-TJH-MBS-RMG




              Exhibit B
3:21-cv-03302-MGL-TJH-RMG                               Date Filed 06/29/22                     Entry Number 298-2                        Page 2 of 2



  From:                Michelle Charles
  To:                  Smith, Laura L.; Barnes, Anna-Kathryn; zzz.External.jcusick@naacpldf.org; Cynthia D. Nygord;
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  Subject:             SC NAACP, et al. v Alexander - Plaintiffs" Updated Notices of Deposition for Patrick Dennis and Chris Murphy
  Date:                Friday, April 29, 2022 4:26:09 PM
  Attachments:         Dennis NOD.pdf
                       C. Murphy NOD.pdf



   External E-mail

  Good afternoon counsel,

  Please find attached Plaintiffs’ Second Updated Notice of Deposition of Patrick Dennis, now scheduled for Friday,
  May 6, 2022, at 10:00am. Please also see Plaintiffs’ Notice of Deposition of Chris Murphy, scheduled for
  Wednesday, May 4, 2022, at 10:00 am.

  Best,
  Michelle Charles (she/her/hers)
  Paralegal
  NAACP Legal Defense and Educational Fund, Inc.
  700 14th Street, NW, 6th Floor, Washington, DC 20005
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